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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE PHILIPS RECALLED CPAP,                  :
BI-LEVEL PAP, AND MECHANICAL                  : Master Docket: Misc. No. 21-mc-1230-JFC
VENTILATOR PRODUCTS                           :
LITIGATION                                    : MDL No. 3014
                                              :
This Document Relates to: All Actions         :
Asserting Economic Loss Claims                :
                                              :
                                              :

                        NOTICE OF FILING OF THE
       “OBJECTIONS AND RESPONSE” CHART REQUESTED BY THE COURT

        On April 9, 2024, the Court issued an Order directing counsel to file an “objections and

response” chart that described each objection, the corresponding response, and reference to where

a more detailed response can be found in Plaintiffs’ brief. ECF 2709 at ¶1. Therefore, in accordance

with the Order, attached as Exhibit “A” hereto is Plaintiffs’ Objections and Response Chart.

        In addition, Counsel will individually serve each objector with the Objections and

Response Chart and inform the objector that the responses to the objection are included in

Plaintiffs’ brief, which may be found on the settlement website, https://angeion-

public.s3.amazonaws.com/www.RespironicsCPAPELSettlement.com/docs/Brief%20in%20Supp

ort%20of%20Motion%20for%20Final%20Approval%20of%20Settlement%20and%20Exhibits.

pdf. Id. at ¶2.

 Dated: April 10, 2024                               Respectfully submitted,

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      Case 2:21-mc-01230-JFC Document 2715 Filed 04/10/24 Page 2 of 2




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